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  AO 199A (Rev. 06/19)   Order Setting Conditions   of Release
                                                                                                                    Page 1 of   4   Pages




                                           UNITED STATES DISTRlCT COURT
                                                                           for the
                                                                  District of New Jersey


                     United States of America
                                                                              )
                                      v.
                                                                              )
                         MICHAEL GIANOS                                       )         Case No.   21-mj-4035 MJS
                                                                              )
                                 Defendant                                    )

                                           ORDER SETTING CONDITIONS                        OF RELEASE

 IT IS ORDERED that the defendant's release is subject to these conditions:

 (1)    The defendant must not violate federal, state, or local law while on release.

 (2)    The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

 (3)   The defendant must advise the court or the pretrial services office or supervising officer in writing before making
       any change of residence or telephone number.

 (4)   The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
       the court may impose.
       The defendant must appear at:                       Magistrate Court in the District of Columbia at 1pm
                                                                                               Place
                                                                  VIA ZOOM

       on                                                               12/9/2021    1:00 pm
                                                                           Date and Time


       Ifblank, defendant will be notified of next appearance.

(5)    The defendant must sign an Appearance Bond, if ordered.
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AO 199B (Rev. 12120) Additional Conditions of Release


                                                                  ADDITIONAL                     CONDITIONS                   OF RELEASE

Pursuant to 18 U.S.C. § 3142( c)( 1)(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably assure the
appearance of the person as required and the safety of any other person and the community.

        IT IS FURTHER ORDERED that the defendant's                              release is subject to the conditions marked below:

(D)      (6)   The defendant is placed in the custody of:
               PctSon or organization
               Address (only if above          u an   organization)
               City and state                                                                                                                              Tel. No.                                                         _
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's                                           appearance         at all court proceedings,             and (c) notifY the court
immediately if the defendant violates a condition of release or is no longer in the custodian's                                     custody.

                                                                                                 Signed:                                                                      _
                                                                                                                                         ClI.Jtodian                                                      Dau
(0)     QL/fhe       defendant must:
       ([3)
          (a) submitto supervision by and report for supervision to the                                        (J . S.       -P~· ...I           ~fvlce)
              telephone number                          , no later than                                                                                            _
      (D) (b) continue or actively seek employment.
      (D) (c) continue or start an education program.
      (0) (d) surrender any passport to:                             C/. $. Prl.I-,..·~'              S~rv"()                 .I     Ilc ••.W
      (Cdr
      (12J)
               (e) not obtain a passport or other international travel document.
               (t) abide by the following restrictions on pc;rsonal association, residence, or travel:                                        "'n.~'
                                                                                                                                              ~-=~~~~~~~~~----~--
                    1'i.!.LIIIll:!oL..:n!..!.._~1)~(..~• ...,..~!Jo~,...,......:{~~:.:....1-~~4~-fI!q.--=-oJ.:...;:                                                                                                                sttv'c,
                                                                                                           ••:..::I.:..'t\~D~,..::..I""""--'otl.lLJa).u...,....!+..t.r8lU.....w~~~"!.......;!.....!::IZ~"_·c.fP~Il~~~~+...L!~.:.!.I.
      (IZh     (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation                                                     or prosecuti
                     including:       V,'c/.,'JlIt.[      «WtfW..H.S                      Cu-      Jdc~./•.,..tr. '(/ c.1I,«./,                         C. ~      4.,.',"·"/.,,
                                                          •                          I                                                                                   OJ

      (D) (h) get medical or psychiatric treatment


      (D) (i)        return to custody each                                   at
                     or the following purposes:
                                                       -----                       ---- o'clock               after being released lit
                                                                                                                                                 -----
                                                                                                                                                                       o'clock for employment,              schooling,



      (D)      G)    maintain residence at a halfWay house or community                            corrections center, as the pretrial services office or supervising officer considers

      (~(k)          :~:          a firearm, destructiv~ice,      or other weapon.
      (~(I)          not use alcohol (          D)
                                               at all ( ~    ) excessively.
      (~(m)          not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed                                                            by a licensed
                     medical practitioner.
      (~(n)         submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
                    random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any fonn of
                    prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
                    of prohibited substance screening or testing.
      (D) (0) participate in a program of inpatient or outpatient                               substance abuse therapy and counseling                       if directed by the pretrial services office or
              supervising officer.
      (D) (P) participate in one of the following location restriction programs and co~ly with its requirements as directed.
              (D) (i) Curfew. You are restricted to your residence every day ( LJ) from                             to              , or (D) as
                           directed by the pretrial services office or supervising officer; or
              (D) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                          medical, substance abuse, or mental health treatment; attorney visits; court appearances; court~rdered    obligations; or other
                          activities approved in advance by the pretrial services office or supervising officer; or
              (D) (iii) Home Incarceration.        You are restricted to 24-hour-a-day lock~own at your residence except for medical 11ecessities and
                          court appearances or other activities specifically approved by the court; or
              (D) (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration restrictions. However,
                          you must comply with the location or travel restrictions as imposed by the court.
                          Note: Stand Alone Monitoring should be used in conjunction with global positioning system (OPS) technology.
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AO 1998 (Rev. 12/20)     Additional    Conditions   of Release
                                                                                                                                                   Page   2_ of   ~   Pages


                                                            ADDITIONAL CONDITIONS OF RELEASE

      (0) (q) submit to the following location monitoring                       technology and comply with its requirements    as directed:
                     (D)    (i)       Location monitoring technology as directed by the pretrial services or supervising officer; or
                     (D)    (ii)      Voice Recognition; or
                     (D)    (iii)     Radio Frequency; or
                     (0)    (iv)      GPS.

      (D) (r)        pay all or part of the cost oflocation              monitoring based upon your ability to pay as determined by the pretrial services or supervising
                     officer.
      (D) (s)
                     report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement             personnel,   including arrests,
                     questioning, or traffic stops.
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     AO 199C (Rev 09/08) Advice DfPenalties
                                                                                                                                   Page   4   Df   4   Pages
                                                 ADVICE OF PENALTIES             AND SANCTIONS

     TO THE DEFENDANT:

     YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

           Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
    revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
    imprisonment, a fine, or both.
           While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
    and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
    consecutive (i.e., in addition to) to any other sentence you receive.
             It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
    tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
    to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
    significantly more serious if they involve a killing or attempted killing.
             If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
    you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. lfyou are convicted of:
            (I) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you will be fined
                   not more than $250,000 or imprisoned for not more than 10 years, or both;
            (2) an offense punishable by imprisonment for a teml of five years or more, but less than fifteen years - you will be fined not
                  more than $250,000 or imprisoned for not more than five years, or both;
            (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
           (4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or both.
           A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
    addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                     Acknowledgment         of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and      ~tions set forth above.




                                                  Directions to the United States Marshal

( I)      The defendant is ORDERED released after processing.
(      ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
         has posted bond and/or complied with all other conditions for release. Ifstill in custody, the defendant must be produced before
         the appropriate judge at the time and place specified.            [' /~


Date:               1_2_/1_/2_0_2_1_                                              {.,1       .__                 ..~
                                                                                         J     'cia/   Ij}icer   ·.f   Signa/ure


                                                                             Matthew J. Skahi~y.S.                     Magistrate Judge
                                                                                              Printed name and title




                      DISTRIBUTION       COURT     DEFENDANT        PRETRIAL SERVICE         US ATIORNEY                      U.S. MARSHAL
